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Sarah L. Hennessy, Esq.
FLAHERTY HENNESSY, LLP
8055 W. Manchester Avenue, Suite 420
Playa Del Rey, CA
Telephone: 310.305.1280
Fax: 310.305.1210
Email: sarah@fhattorneys.com

Jordan A. Shaw, Esq.
Pro Hac Vice Granted
Edward H. Zebersky, Esq.
Pro Hac Vice Granted
Mark Fistos, Esq.
Pro Hac Vice Granted
Candace Phillips, Esq.
Pro Hac Vice Granted

ZEBERSKY PAYNE SHAW LEWENZ, LLP
110 S.E. 6th Street, Suite 2150
Ft. Lauderdale, Florida 33301
Telephone: (954) 989-6333
Facsimile: (954) 989-7781
Primary Email: jshaw@zplIp.com
Secondary Email: mperez@zplIp.com

Attorneys for Plaintiff

                           UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


COURTNEY SILVERMAN, individually                ) Case No: 5:18-cv-05919-BLF
and on behalf of all others similarly situated, )
                                                )
                                                )
               Plaintiff,                       )
                                                ) NOTICE OF APPEAL
       VS.                                      )
                                                )
MOVE, INC., a California Corporation, and )
NATIONAL ASSOCIATION OF                         )
REALTORS, an Illinois Corporation,              )
Defendants.                                     )
                                                )
                                                )
               Defendants.                      )
                                                )
                                                )




Plaintiffs Notice of Appeal                                    Case No.: 5:18-cv-05919-BLF
              Case 5:18-cv-05919-BLF Document 67 Filed 07/24/19 Page 2 of 2



                                       NOTICE OF APPEAL

            Notice is hereby given that Plaintiff, Courtney Silverman, hereby appeals to the United
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     States Court of Appeals for the Ninth Circuit from the Court's Order (ECF No. 66), Order
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     Granting Without Leave to Amend National Association of Realtors' Motion to Dismiss for Lack
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     of Personal Jurisdiction; Granting Move, Inc's Amended Motion to Compel Arbitration; Staying

5    Action and Vacating Case Management Conference, entered on June 24, 2019.

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         FLAHERTY HENNESSY, LLP                    ZEBERSKY PAYNE SHAW LEWENZ, LLP
 7       8055 W. Manchester Avenue, Suite 420      110 S.E. 6th Street, Suite 2150
         Playa Del Rey, CA 90293                   Ft. Lauderdale, Florida 33301
 8       Phone: 310.305.1280                       Telephone: (954) 989-6333
         Fax: 310.305.1210                         Facsimile: (954) 989-7781
         Email: sarah@fhattorneys.com              Primary Em                    .com
 9
                                                   Seconda                      zslls.com
         By: /s/ Sarah L. Hennessy
10         SARAH L. HENNESSY, ESQ.                            k    W, ESQ.
11                                                          PAGranted
                                                   ED    '71b H. ZEBERSKY, ESQ.
12                                                 Pro Hac Vice Granted
                                                   MARK S. FISTOS, ESQ.
                                                   Pro Hac Vice Granted
13                                                 CANDACE PHILLIPS, ESQ.
                                                   Pro Hac Vice Granted
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     Plaintiffs Notice of Appeal                   -1-               Case No.: 5:18-cv-05919-BLF
